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                                                            CLOUDFLARE, INC.
                                                          9
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                                                                                  UNITED STATES DISTRICT COURT
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                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                          12
F ENWICK & W EST LLP




                                                                                           WESTERN DIVISION
                       ATTORNEYS AT LAW




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                                          SAN FRANCISCO




                                                               ALS SCAN, INC.,                       Case No.: CV 16-5051-GW(AFMx)
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                                                                            Plaintiff,               ORDER GRANTING
                                                          15                                         DEFENDANT CLOUDFLARE,
                                                                    v.                               INC. AND STEADFAST
                                                          16                                         NETWORKS, LLC’S JOINT
                                                               CLOUDFLARE, INC., et al.,             REQUEST FOR A TELEPHONE
                                                          17                                         CONFERENCE REGARDING
                                                                            Defendants.              SUMMARY JUDGMENT
                                                          18                                         SCHEDULING
                                                          19                                         Date:          January 11, 2018
                                                                                                     Time:          11:00 A.M.
                                                          20                                         Crtm:          9D
                                                                                                     Judge:         George H. Wu
                                                          21
                                                                                                     Trial Date:    April 24, 2018
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                                                          23
                                                          24
                                                          25
                                                          26
                                                          27
                                                               [PROPOSED] ORDER GRANTING                      CASE NO. 2:16-CV-05051-GW-AFM
                                                          28   REQUEST FOR TELEPHONE
                                                               CONFERENCE RE SUMMARY
                                                               JUDGMENT SCHEDULING
                                          Case 2:16-cv-05051-GW-AFM Document 312 Filed 01/10/18 Page 2 of 2 Page ID #:7316



                                                          1         The Court GRANTS the request and ORDERS the parties to participate in a
                                                          2 telephone conference on January 11, 2018 at 11:00 a.m. Counsel for Defendant
                                                          3 Cloudflare, Inc., will provide and email the court clerk and other counsel in this
                                                          4 matter with a call-in number for the hearing at 11:00 a.m.
                                                          5
                                                          6         IT IS SO ORDERED.
                                                          7
                                                          8 Dated: January 10, 2018
                                                          9
                                                          10
                                                                                                    GEORGE H. WU, U.S. District Judge
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F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




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                                          SAN FRANCISCO




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                                                          28   [PROPOSED] ORDER GRANTING                          CASE NO. 2:16-CV-05051-GW-AFM
                                                               REQUEST FOR TELEPHONE                   2
                                                               CONFERENCE RE SUMMARY
                                                               JUDGMENT SCHEDULING
